                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )
                                                 )
       vs.                                       )   Case No. 08-03146-05-CR-S-GAF
                                                 )
ALAN T. SMITH,                                   )
                                                 )
                      Defendant.                 )

                        PRELIMINARY ORDER OF FORFEITURE

       The matter is before the Court on the Motion of the United States for a Preliminary Order

of Forfeiture. The Forfeiture Allegation sought forfeiture of a 2007 Chevrolet Corvette, VIN:

1G1YY36U675119684.

       On August 6, 2009, defendant Alan T. Smith entered into a Plea Agreement with the

United States wherein he agreed to plead guilty to the charge contained in the Information and

agreed to forfeit to the United States the property described above and in the Forfeiture

Allegation of the Information.

       The Court has determined, based upon the evidence set forth in the Plea Agreement of

defendant Alan T. Smith, that the United States has established the requisite nexus between the

described property and the offense to which defendant Smith has pled guilty.

       By virtue of the Plea Agreement, the United States is now entitled to a Preliminary Order

of Forfeiture and to possession of the property pursuant to 21 U.S.C. § 853(n).

       Accordingly, it is hereby ORDERED:

       1. Based upon the Plea Agreement and the Forfeiture Allegation contained in the

Information, a 2007 Chevrolet Corvette, VIN: 1G1YY36U675119684, is hereby forfeited to the




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United States for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

§ 853(n).

        2. Upon Entry of this Order, the Attorney General or his designee is authorized to seize

the above-described property in accordance with Fed. R. Crim. P. 32.2(b)(3).

        3. Pursuant to 21 U.S.C. § 853(n), the United States shall publish for 30 consecutive

days on the Internet site www.forfeiture.gov, notice of this Order, notice of the United States’

intent to dispose of the property in such a manner as the Attorney General may direct, and notice

that any person, other than defendant Alan T. Smith, having or claiming a legal interest in the

above-described property must file a petition with the Court (and serve a copy on Cynthia J.

Hyde, Assistant United States Attorney), within thirty (30) days of the final publication of notice

or of receipt of actual notice, whichever is earlier. This notice shall state that the petition shall

be for a hearing to adjudicate the validity of the petitioner’s alleged interest in the property, shall

be signed by the petitioner under penalty of perjury and shall set forth the nature and extent of

the petitioner’s right, title, or interest in the forfeited property and any additional facts supporting

the petitioner’s claim and the relief sought. The United States may also, to the extent

practicable, provide direct written notice to any person known to have alleged an interest in the

property that is the subject of this Preliminary Order of Forfeiture, as a substitute for published

notice as to those persons so notified.

        4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture shall

become final as to the Defendant at the time of sentencing (or before if the Defendant consents)

and shall be part of the sentence and included in the judgment.

        5. The United States may conduct any discovery it considers necessary to identify,

locate, or dispose of the property subject to forfeiture or substitute assets for such property.




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       6. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture in which all interests will be addressed.

                                                       s/ Gary A. Fenner
                                                       Gary A. Fenner, Judge
                                                       United States District Court

DATED: August 14, 2009




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